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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

____________________________________
DELTA HILL (DETA),                   :
                                     :
                        Plaintiff,   :
                                     :
      v.                             :   Civil Action No. 22-1397 (RGA)
                                     :
STEPHEN KNOTT, WILLIAM ASHE,         :
AND ILA,                             :
                                     :
                        Defendants. :
____________________________________:

                    BRIEF OF DEFENDANT WILLIAM ASHE
                   IN SUPPORT OF HIS MOTION TO DISMISS




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                                         Dated: November 4, 2022
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I.     INTRODUCTION

       This opening brief is filed on behalf of Defendant William Ashe, herein referred to as

“Ashe,” pursuant to Federal Rule of Civil Procedure 12(b)(6). Ashe, who is the President of

International Longshoremen’s Association Local 1694 and a Vice President of the International

Longshoremen’s Association, moves to the dismiss the complaint in this matter as it applies to him

because individual officers bear no individual liability in claims under the Labor-Management

Relations Act, herein referred to as the “LMRA.”

II.    STATEMENT OF THE NATURE AND STAGE OF PROCEEDING

       On or around September 22, 2022, Plaintiff Delta Hill filed in state court a hand-written

complaint with a series of unexplained exhibits objecting to the ILA’s decision to dissolve a merger

and to establish a newly formed local union. On October 25, 2022, Defendants filed a notice of

removal because the claims alleged in the complaint arise under the LMRA.

III.   SUMMARY OF ARGUMENT

       Defendant Ashe, as the President of Local 1694, and as a Vice President of the ILA, is

not subject to liability under Section 301, and, as such, must be dismissed as a Defendant.

IV.    STATEMENT OF FACTS

       On March 11, 2021, the ILA merged Local 1694-1 into Local 1694, Local 1883, and Local

1884 because it was determined to be in the best interests of all ILA members in the Port of

Wilmington. (Complaint, Exhibit, p. 1). Article XII, Section 4 of the ILA Constitution provides

the ILA Executive Officers with the authority to merge two or more locals on such terms and

conditions as they deem necessary. (Complaint, Exhibit, p. 1). The Executive Officers have the

corresponding authority to dissolve a merger if this action is deemed to be in the best interest of

the ILA and its members. (Complaint, Exhibit, p. 1). Based on this authority, the ILA Executive



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Officers voted to dissolve the merger and create a new local union in the Port of Wilmington

effective September 12, 2022. (Complaint, Exhibit, p. 1). Plaintiff became a member of the newly

formed Local 2076. (Complaint, Exhibit, p. 1).

V.      ARGUMENT

        A.      Standard of Review

        Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a court may dismiss an

action for failure to state a claim upon which relief can be granted. When considering a motion

to dismiss under this Rule, “‘courts accept all factual allegations as true, construe the complaint

in the light most favorable to the plaintiff, and determine whether, under any reasonable reading

of the complaint, the plaintiff may be entitled to relief.’” Fowler v. UPMC Shadyside, 578 F.3d

203 (3d Cir. 2009) quoting Phillips v. Cnty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008). In

other words, a complaint survives a motion to dismiss only if it contains sufficient factual matter,

accepted as true, to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007).

        Courts utilize a two-prong analysis in reviewing motions to dismiss pursuant to Rule

12(b)(6). Ashcroft v. Iqbal, 556 U.S. 662, 679-80 (2009); Fowler, 578 F.3d at 210–11. First, the

court must separate factual allegations from legal conclusions. Iqbal, 556 U.S. at 678.

Importantly, “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. Second, the court must determine whether the factual

allegations are sufficient to show that the plaintiff has a “plausible claim for relief.” Id. at 679.

Determining plausibility is a “context-specific task” that requires the court to “draw on its

judicial experience and common sense.” Id. A complaint cannot survive where a court can only

infer that a claim is merely possible rather than plausible. See id.



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       B.      Ashe is Not Properly Named as a Party

       In an action arising under Section 301 of the LMRA, “the law is clear that individual union

officers are not personally liable to third parties for actions taken on behalf of the union in the

collective bargaining process.” Carino v. Stefan, 376 F.3d 156, 159-60 (3rd Cir. 2004) (“Our court

has recognized that Atkinson provides individual union members and officers immunity from suit

for union wrongs.”); see Atkinson v. Sinclair Refining Co., 370 U.S. 238, 248 (1962) (explaining

that “when Congress passed Section 301, it declared its view that only the union was to be made

to respond for union wrongs, and that the union members were not to be subject to levy,” and

holding that union agents could not be personally liable for damages resulting from a strike in

violation of a no-strike clause); Complete Auto Transit, Inc. v. Reis, 451 U.S. 401 (1981) (holding

that individual union members are immune from suits for damages under Section 301, even if their

conduct was unauthorized by the union and in violation of the collective bargaining agreement).

       Section 301(b) expressly provides:

               Any money judgment against a labor organization shall be
               enforceable only against the organization as an entity and against its
               assets, and shall not be enforceable against any individual member
               or his assets.

29 U.S.C. § 185(b). Not only does the statute expressly exempt union agents and members from

personal liability, but in Atkinson, the Supreme Court “gave the statute a broader reading” in that

the “purpose of section 301(b)… was to ensure that ‘only the union was to be made to respond for

union wrongs.” See Veggian v. Camden Bd. of Educ., 600 F.Supp.2d 615, 627-28 (D. NJ. 2009);

Franklin v. National Maritime Union of America, 1991 WL 131182 (D. NJ. July 161, 1991) (“This

Court agrees that union members and officials may not be held liable for damages in a duty of fair

representation suit,” and therefore, the Court dismissed the individual union-official defendants

from the action).

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       Here, while the complaint is devoid of reference to any action taken or inaction not taken

by Ashe, the complaint as it relates to Ashe must be dismissed. Ashe is the President of Local

1694, and a Vice President of the ILA. As the law is clear and established that no action under

Section 301 may be maintained against an officer or member of a union, the complaint must be

dismissed with respect to Defendant Ashe.

VI.    CONCLUSION

       Based on the foregoing, Defendant William Ashe respectfully submits that the complaint

must be dismissed as it relates to Ashe.

                                            Respectfully submitted,

                                            O’DONOGHUE & O’DONOGHUE, LLP


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                                CERTIFICATE OF SERVICE

       I, Lance Geren, certify that on November 4, 2022, the foregoing document was filed

electronically with the Clerk of the Court and served by first-class mail upon Plaintiff “Delta Hill

(Deta)” and Delaware District Court.


                                                     _/s/ Lance Geren_____________
                                                     Lance Geren




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